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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

                                                           Civil Action No. 2:18-cv-03326-RMG
SOUTH CAROLINA COASTAL                                     (Consolidated with 2:18-cv-3327-RMG)
CONSERVATION LEAGUE et al.,

                       Plaintiffs,
                                                           RESPONSE BRIEF IN OPPOSITION
v.                                                         TO PLAINTIFFS’ MOTION FOR
                                                           PRELIMINARY INJUNCTION BY
WILBUR ROSS, in his official capacity as the               INTERVENOR-DEFENDANTS THE
Secretary of Commerce et al.,                              INTERNATIONAL ASSOCIATION OF
                                                           GEOPHYSICAL CONTRACTORS,
                       Defendants.                         CGG SERVICES (U.S.) INC., GX
                                                           TECHNOLOGY CORPORATION,
                                                           SPECTRUM GEO INC., TGS-NOPEC
                                                           GEOPHYSICAL COMPANY,
                                                           WESTERNGECO LLC, AND THE
                                                           AMERICAN PETROLEUM INSTITUTE

CITY OF BEAUFORT et al.,

                       Plaintiffs,

v.

NATIONAL MARINE FISHERIES SERVICE
et al.,

                       Defendants.




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                                       I. INTRODUCTION

         Tens of thousands of seismic surveys have occurred throughout the world over the last 80

years using conventional compressed-air arrays. This includes thousands of seismic surveys on

the U.S. outer continental shelf (“OCS”) alone, consisting of more than 3,122,360 linear miles of

2D seismic surveys.1 In all of that time, and across millions of miles, there is no credible

evidence that seismic survey sound has had any significant impacts on marine mammals or the

marine environment. In the Atlantic alone, there were over 213,936 linear miles of seismic

surveys in the 1970s and early 1980s, including extensive surveys in North Atlantic right whale

habitat and beaked whale habitat. There was no evidence of environmental impact or impact to

marine mammals from those surveys. At least five additional seismic surveys have been

authorized in the Atlantic since 2014, including seismic surveys in right whale and beaked whale

habitat, again with no evidence of any impact to marine mammals or the environment. See, e.g.,

79 Fed. Reg. 57,512, 57,538 (Sept. 25, 2014).

         Despite 80 years of evidence to the contrary, Plaintiffs South Carolina Coastal

Conservation League et al. (collectively, the “League” or “SCCCL”) claim that the five surveys

proposed by Intervenor-Defendants CGG Services (U.S.) Inc., GX Technology Corporation,

Spectrum Geo Inc., TGS-Nopec Geophysical Company, and WesternGeco LLC (collectively, the

“Exploration Companies”) will cause irreparable injury to the marine environment, and seek to

enjoin five incidental harassment authorizations (“IHAs”) issued by the National Marine

Fisheries Service (“NMFS”) under the Marine Mammal Protection Act (“MMPA”). Although

there has not been a single documented marine mammal mortality attributed to sound from

seismic surveys, the League protests that these surveys “may injure or kill individual whales and


1
    See Declaration of Nikki Martin ¶ 5.


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harm entire populations” of marine mammals, will push the North Atlantic right whale to

extinction, and will cause population-level injuries to highly abundant beaked whale species.

SCCCL Br. (Dkt. 124-1) at 5.

         The League’s request for injunctive relief should be denied because these hyperbolic and

speculative claims have no merit. The sine qua non for obtaining injunctive relief is a

demonstration by the movant “that irreparable injury is ‘likely’ to occur” absent an injunction.

Wis. Gas Co. v. F.E.R.C., 758 F.2d 669, 674 (D.C. Cir. 1985). The burden is on the movant to

“provide proof that the harm has occurred in the past and is likely to occur again, or proof

indicating that the harm is certain to occur in the near future.” Id. The League has not made and

cannot make that showing here. The harms the League predicts have never been demonstrated,

and the League provides no credible reason why the present surveys will produce effects that

have never been observed. Nor could it. As detailed below, the IHAs include a suite of

mitigation and avoidance measures, and area closures, designed by NMFS to prevent even the

remote possibility of any irreparable injury to marine mammals or the environment. See, e.g.,

Declaration of Ryan Steen, Ex. A at 77 (“NMFS has minimized possible impacts to right whales

. . . and believes the possibility of significant impacts resulting from the proposed activity to be

unlikely.”).

         Without any evidence of past injury, the League tries to manufacture injury by pointing

to the “take” of marine mammals authorized by the IHAs, and claiming that this “take” proves

that the Exploration Companies will “harass and seriously injure or kill” tens of thousands of

marine mammals if the Court does not intervene. SCCCL Br. at 29. The League mischaracterizes

the IHAs and the nature of “take” under the MMPA. The IHAs do not authorize any serious

injury or mortality, and NMFS does not expect any such injury or mortality to occur. 83 Fed.



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Reg. 63,268, 63,275 (Dec. 7, 2018) (“No mortality is expected to occur as a result of the planned

surveys, and there is no scientific evidence indicating that any marine mammal could experience

mortality as a direct result of noise from geophysical survey activity.”). Instead, the five IHAs

combined authorize only 69 instances of “Level A harassment” which (by definition) have only

the “potential to injure” marine mammals. Id. at 63,340, Table 6.2 And as for the 69 “potential”

injuries, none involve North Atlantic right whales or beaked whales, and most are unlikely to

occur at all (or would be so small as to be almost imperceptible). Id. at 63,338, 63,340; See

Declaration of Bob Gisiner ¶ 70. The rest of the authorized take is for “Level B harassment”

which (by definition) is for minor “potential” disturbances in behavior (e.g., avoiding sound) that

do not have the “potential to injure.” 83 Fed. Reg. at 63,268, 63,340. The League’s claim that

thousands of marine mammals will be injured or killed is false.

         And frankly, the League should know better than to make outrageous claims of

irreparable injury based on Level B (or even Level A) harassment authorizations. The League’s

expert (Dr. Scott Kraus) decries these surveys as an “existential threat” to the remaining 411 (or

so) North Atlantic right whales, even though the five combined IHAs authorize zero Level A

right whale harassments and only 19 Level B right whale harassments. To place the

insignificance of those numbers in context, Dr. Kraus himself presently holds a permit

authorizing him to “take” 50 right whales per year for five years by Level A harassment

(pursuing right whales, including non-neonate calves, to within 5 to 15 meters by boat and then

shooting them with a crossbow) and 5,000 right whales per year by Level B harassment, thereby



2
  Spectrum revised its plans resulting in lower harassments of all marine mammals, and therefore
the numbers in the Federal Register tables are higher than actually authorized. The actual
authorized numbers are presented in the IHAs. Steen Decl., Exs. B-F.



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harassing the entire North Atlantic right whale population as much as 10 times per year. Steen

Decl., Ex. G at 88.3 The League’s other right whale expert (Dr. Douglas Nowacek) previously

held a permit allowing 80 Level A right whale takes per year for five years (pursuing whales by

boat and attaching trackers), and an additional 90 Level B harassments per year. Id., Ex. H at 33,

Ex. I at 4. Indeed, in one five-year period, NMFS authorized Dr. Kraus and other researchers to

“take” the 411 or so remaining right whales as many as 51,590 times in a five-year period (and

many of those takes were by Level A harassment). Id., Ex. G at 78. Although this research may

be well-intended and well-purposed, it undeniably has an adverse impact. Id. (“[R]esearch has

the ability to contribute to or even exacerbate the stress response to marine mammals generated

from other threats occurring in the action area.”); id. at 84-85 (discussing example where

research vessel struck a right whale resulting in injury); id. at 95-96 (discussing death of dolphin

after being hit with biopsy dart). The League’s claim that the status of the right whale is so

perilous that any increased stress will propel the species to extinction is not credible in light of

the fact that its own experts harass the right whale population thousands of times per year.

         The League’s fears of harm to beaked whales are equally unfounded. The League’s own

beaked whale experts concede that there is no documented evidence or scientific studies showing

that beaked whales react adversely to seismic sound. Without evidence that seismic surveys will

impact beaked whales (and despite 80 years of experience evidencing they will not), the

League’s experts speculate, based on sonar studies, that beaked whales could react negatively to

seismic sound. However, although beaked whales are sensitive to mid-frequency sounds like



3
 For five years (September 2010 to September 2015), Dr. Kraus was authorized to conduct 50
Level A harassments per year, including 20 Level A harassments per year on calves under six
months old, and an additional 2,000 Level B harassments per year. Id., Ex. H at 33.



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sonar, seismic survey sounds are entirely different in character and intensity, and occur

predominantly at low frequencies. Gisiner Decl. ¶¶ 27-32, 55, 83-91. It is well settled that “fear

of speculative or remote future injury cannot constitute irreparable harm.” Hodges v. Abraham,

253 F. Supp. 2d 846, 864 (D.S.C. 2002) (citing Manning v. Hunt, 119 F.3d 254, 263 (4th Cir.

1997)).

          Putting the League’s hyperbole and speculation aside, the fact of the matter is that NMFS

spent years working on these IHAs, carefully considered all of the League’s concerns (through

two rounds of public comment—one required and one voluntary), and concluded that there is no

real possibility of injury to beaked whales or to North Atlantic right whales, and that the

potential 69 injuries (to other marine species) would be very minor if they occurred at all. 83

Fed. Reg. at 63,336. NMFS’s conclusions are well supported by the scientific literature and

reports demonstrating that marine mammals exhibit only minor behavioral responses to seismic

surveys and that no meaningful, long-term consequences result from these responses. See Gisiner

Decl. §§ III, IV. Although the League’s experts strain to reach a different result, those opinions

go against the weight of history and the opinions of the federal agency entrusted by Congress to

protect marine mammals. The League has failed to demonstrate that irreparable harm is likely

absent an injunction, and its motion should be denied for this reason alone.

          In addition, the League’s motion should be denied because it also fails to establish a

likelihood of success on the merits. The League must demonstrate that NMFS’s actions are

arbitrary and capricious under the Administrative Procedure Act (“APA”). The League’s burden

is particularly difficult here because NMFS’s decisions involve complex scientific evaluations

where “a reviewing court must generally be at its most deferential.” Balt. Gas & Elec. Co. v.

NRDC, 462 U.S. 87, 103 (1983). The League’s merits arguments amount to little more than



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second-guessing the agency’s scientific determinations and mischaracterizing the record. As set

forth below, the League does not demonstrate that it is likely to prevail on these claims.

         For all of these reasons, and those discussed below, the League’s motion should be

denied. The “‘extraordinary and drastic remedy’” requested by the League is not warranted.

Munaf v. Geren, 553 U.S. 674, 689 (2008) (citation omitted).

                                       II. BACKGROUND

A.       Seismic Surveys Gather Geophysical Data with No Significant Effects.

         Seismic surveys utilize acoustic waves to characterize the geological features below the

seafloor. Seismic surveys in the ocean are carried out by vessels that tow an array of different

sized acoustic sound sources, typically consisting of compressed-air chambers resembling

SCUBA tanks (but with much less volume) that emit a very brief (less than 0.1 second) acoustic

pulse into the water every six to 20 seconds. Gisiner Decl. ¶¶ 14-18. The pulse from the acoustic

array reflects off the seafloor and subsurface layers and the return signal is recorded by a towed

listening device which can later be analyzed to create an image of the seafloor’s underlying

geological layers. Id. A seismic survey vessel typically travels at four to five knots along a set

survey track line, acquiring seismic data along the way. Id. The vessels move in a straight line

for hours or even days before making a turn, and may not return to a given vicinity for 16 to 72

hours, and then may be hundreds or thousands of meters from the previous track line. Id.

         The effects of seismic surveys on marine mammals have been the subject of extensive

observation and study. Id. §§ III, IV. Some marine mammals show no apparent reaction (e.g.,

some dolphins will actually bow-ride in front of active seismic vessels), while others make very

minor alterations in their migratory paths (e.g., a 200 m detour in a 5,000-8,000 km migration) in

response to the sound. Id. ¶¶ 51-52. There are no documented marine mammal injuries caused by

sound from seismic surveys and there has been no demonstration that temporary behavioral

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modifications that may be caused by seismic sound have anything more than a negligible impact

to marine mammal populations. Id. §§ III, IV, V. These conclusions have been reached

repeatedly by federal agencies over decades of authorizing marine mammal take incidental to

seismic surveys.

B.       The MMPA Allows NMFS to Issue IHAs.

         The MMPA was passed in 1972, and generally prohibits the “take” of marine mammals,

which is defined in the statute as “to harass, hunt, capture, or kill or attempt to harass, hunt,

capture, or kill any marine mammal.” 16 U.S.C. §§ 1362(13), 1371(a). The MMPA further

defines harassment as “any act of pursuit, torment, or annoyance which (i) has the potential to

injure a marine mammal or marine mammal stock in the wild” (emphasis added) (known as

“Level A harassment”); or “(ii) has the potential to disturb a marine mammal or marine mammal

stock in the wild by causing disruption of behavioral patterns, including, but not limited to,

migration, breathing, nursing, breeding, feeding, or sheltering” (known as “Level B

harassment”). 16 U.S.C. § 1362(18)(A) (emphasis added). Despite the MMPA’s general

prohibition on taking marine mammals, the statute allows NMFS to permit the take of small

numbers of marine mammals through IHAs, if the agency determines that such incidental

harassment will have a negligible impact on the species or stock. See 16 U.S.C. § 1371(a)(5)(D).

         NMFS employs models to estimate the numbers of marine mammals that may experience

Level A and Level B harassment from sound. See Gisiner Decl. § V. NMFS typically models

Level B harassment using a criterion of 160 decibels (“dB”), which is the threshold at which a

marine mammal could perceive the sound (if it were present in the area) and could respond to

that sound. Id. ¶ 72. NMFS typically models Level A harassment using two criteria, adjusted for

marine mammal hearing groups, which represent the levels at which it is possible that certain

marine mammal species could experience minor, but perceptible, changes in hearing. Id. ¶ 70.

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The modeling used to generate estimates of incidental take by harassment incorporates numerous

conservative assumptions that generally result in highly precautionary estimates. Id. ¶¶ 69-71.

C.       NMFS Issued IHAs to the Five Exploration Companies in 2018.

         On November 30, 2018, NMFS issued the five IHAs, pursuant to the MMPA.4 The

process began in 2012, when the Bureau of Ocean and Energy Management (“BOEM”)—the

entity with authority to issue permits for seismic surveys on the OCS—issued a Draft

Programmatic Environmental Impact Statement (“PEIS”) to evaluate the potential environmental

effects of geological and geophysical activities, including seismic surveys, on the Mid- and

South-Atlantic OCS. See 77 Fed. Reg. 19,321 (Mar. 30, 2012). After responding to extensive

public comments, BOEM issued a Final PEIS in 2014. 79 Fed. Reg. 42,815 (July 23, 2014). In

2015 and 2016, the Exploration Companies responded to the PEIS by submitting applications to

BOEM for permission to conduct two-dimensional seismic surveys on the Atlantic OCS in

support of oil and gas exploration. At various times, the companies also submitted IHA

applications to NMFS requesting authorization to take marine mammals incidental to their

respective proposed seismic surveys, which, together, totaled 148,697 linear kilometers of

proposed surveying (later reduced). See 82 Fed. Reg. 26,244, 26,249, Table 1 (June 6, 2017).

         As part of its evaluation of the applications, NMFS prepared a Biological Opinion

(“BiOp”), pursuant to Section 7 of the Endangered Species Act (“ESA”), assessing the potential

impacts of the five proposed seismic surveys on species listed under the ESA, including the

North Atlantic right whale. Steen Decl., Ex. J. The BiOp concluded that the five surveys,

individually or collectively, were not likely to jeopardize listed species under the ESA. Id., Ex. J


4
 The unusually long and complicated history leading up to that approval (which the League
mischaracterizes) is set forth in the Declaration of Nikki C. Martin, ¶¶ 10-18.



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at 111. NMFS also prepared a supplemental environmental assessment (“EA”) under the

National Environmental Policy Act (“NEPA”) to supplement BOEM’s analysis in the PEIS, and

evaluated the specific impact of the five IHAs in light of new available science and information.

Id., Ex. A. Based on the EA, NMFS concluded that the five surveys “would each have a

negligible impact on the affected mammal species or stocks under the MMPA” and cumulatively

would have no significant impact to marine mammals or their habitat. Id., Ex. K at 6-8.

         To further ensure against impacts, each of the five IHAs include a suite of mitigation and

monitoring measures. These measures include but are not limited to: constant visual monitoring

by trained protected species observers; passive acoustic monitoring to detect vocalizing marine

animals during low visibility and nighttime conditions; buffer and exclusion zones of 500, 1000,

and 1500 meters in which a vessel will shut down survey operations if a marine mammal enters

the zone; ramp-up (soft-start) procedures that gradually increase the sound level at the start of a

period of surveying; and time-area closures to avoid surveying near sensitive whale foraging and

breeding areas or migration routes. Id., Ex. B at 1-16; 83 Fed. Reg. 63,341-57.

                                         III. ARGUMENT

A.       Preliminary Injunctive Relief Is an Extraordinary Remedy.

         Issuance of preliminary injunctive relief is an “‘extraordinary and drastic remedy.”’

Munaf, 553 U.S. at 689 (citation omitted). An injunction can only issue on a “‘clear showing’”

and “substantial proof” that an injunction is warranted. Mazurek v. Armstrong, 520 U.S. 968, 972

(1997) (per curiam). The moving party must establish each of the following: “(1) a clear showing

that it will likely succeed on the merits; (2) a clear showing that it is likely to be irreparably

harmed absent preliminary relief; (3) the balance of equities tips in favor of the moving party;

and (4) a preliminary injunction is in the public interest.” United States v. South Carolina, 720

F.3d 518, 533 (4th Cir. 2013) (internal quotation marks and citations omitted). Each of these four

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requirements “must be fulfilled as articulated” to warrant injunctive relief. De La Fuente v. S.C.

Democratic Party, 164 F. Supp. 3d 794, 798 (D.S.C. 2016) (citing Real Truth v. Fed. Election

Comm’n, 575 F.3d 342, 347 (4th Cir. 2009)). Moreover, “regardless of the other factors, ‘[t]he

equitable remedy [of an injunction] is unavailable absent a showing of irreparable injury.’” SAS

Inst., Inc. v. World Programming Ltd., 874 F.3d 370, 386 (4th Cir. 2017) (quoting City of Los

Angeles v. Lyons, 461 U.S. 95, 111 (1983)).

B.       The League’s Request for Preliminary Injunctive Relief Is Premature Because
         BOEM Has Not Yet Issued a Permit.

         As an initial matter, the League’s request for a preliminary injunction is unripe because

BOEM has not yet issued a permit under the Outer Continental Shelf Lands Act (“OCSLA”).

Until that happens, the Exploration Companies cannot conduct seismic surveys, and there is no

possibility of any harm to the League’s members unless and until such a permit issues.

Additionally, because BOEM has the authority to impose its own conditions on permits, there is

no way to know at this time the exact scope of the surveys BOEM will authorize and therefore

the scope of any potential impact that may occur. In short, irreparable harm from future surveys

is not likely to occur when the Exploration Companies have no permit to conduct surveys and the

potential permit conditions are not known. See Ctr. for Food Safety v. Vilsack, 636 F.3d 1166,

1174 (9th Cir. 2011) (“At the time Plaintiffs sought the preliminary injunction, none of the

irreparable harms they sought to prevent were likely. Their alleged irreparable harms hinged on

future [Department of Agriculture] decisions, and nothing prevented Plaintiffs from filing a new

legal challenge if and when those decisions were made.”). The League’s motion should therefore

be denied, pending issuance of permits by BOEM. See Texas v. United States, 523 U.S. 296, 300

(1998) (“A claim is not ripe for adjudication if it rests upon contingent future events . . . .”

(citation and internal quotation marks omitted)).


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C.       The League’s Motion Should Be Denied Because It Fails to Demonstrate a
         “Likelihood” of Irreparable Harm.

         A clear demonstration of irreparable harm to the plaintiff “‘is the single most important

prerequisite for the issuance of a preliminary injunction.’” N.M. Dep’t of Game & Fish v. U.S.

Dep’t of the Interior, 854 F.3d 1236, 1249 (10th Cir. 2017) (citation omitted). The League must

show that irreparable harm is “likely” and not merely “possible.” Winter v. NRDC, 555 U.S. 7,

20 (2008). “[P]roving ‘irreparable injury’ is a considerable burden, requiring proof that the

movant’s injury is ‘certain, great and actual—not theoretical—and imminent, creating a clear

and present need for extraordinary equitable relief to prevent harm.’” Power Mobility Coal. v.

Leavitt, 404 F. Supp. 2d 190, 204 (D.D.C. 2005) (emphasis added) (quoting Wis. Gas Co., 758

F.2d at 674). “A fear of speculative or remote future injury cannot constitute irreparable harm,”

and instead “[t]here must be a likelihood that immediate irreparable harm will occur.” Hodges,

253 F. Supp. 2d at 864 (citing Manning, 119 F.3d at 263).

         The League claims that its members’ research and aesthetic interests will be irreparably

harmed because the planned seismic surveys will cause irreparable harm to marine mammals.

SCCCL Br. at 33-34. Specifically, the League argues that “the authorized seismic blasting will

harass and injure marine mammals hundreds of thousands of times,” and that “seismic blasting

will cause even more severe consequences for North Atlantic right whales and beaked whales.”

Id. at 30.5 As set forth below, these arguments have no merit.




5
 The League also provides an expert declaration from Dr. Aaron Rice which opines that the
surveys will cause acute and chronic injuries to fishes and invertebrates. However, the League
does not argue this point in its memorandum and any such argument has been waived. In any
event, such an argument is not credible. See 83 Fed. Reg. at 63,326; Gisiner Decl. §§ VI.C, VI.D.



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         1.        The League’s Alleged Harms Are Speculative and Contradicted by 80 Years
                   of Seismic Surveys Without Any Evidence of Impacts to Marine Life.

         The League’s claims ring hollow in light of 80 years without any evidence that seismic

survey sound irreparably harms marine mammals. The League is required to “provide proof” that

(1) “the harm has occurred in the past and is likely to occur again,” or (2) “the harm is certain to

occur in the near future.” Wis. Gas Co., 758 F.2d at 674; see also Bloodgood v. Garraghty, 783

F.2d 470, 476 (4th Cir. 1986) (same). As the Supreme Court explained, this burden is

particularly difficult to meet when, as here, the defendant is not conducting “a new type of

activity with completely unknown effects on the environment.” Winter, 555 U.S. at 23 (reversing

injunction for “training exercises that have been taking place in SOCAL for the last 40 years”).

Relying on this precedent, the district court in Idaho Rivers United v. United States Army Corps

of Engineers, 156 F. Supp. 3d 1252 (W.D. Wash. 2015), rejected speculative claims of injury to

lamprey and endangered salmon from a project where the Corps had “been maintaining the

navigation channel on the lower Snake River for more than 50 years,” and had dredged the same

area 10 years earlier without objection or evidence of irreparable harm. Id. at 1264 n.11.

         Here too, the League cannot meet its burden because seismic surveys have been

occurring for more than 80 years, and the effects of those surveys have been well-studied and

well-documented. See Gisiner Decl. §§ III, IV. On the U.S. OCS alone there have been

thousands of seismic surveys covering at least 3,122,360 linear miles. Martin Decl. ¶ 5. Tens of

thousands of similar surveys have occurred worldwide. Id. ¶ 8. The Atlantic OCS has had more

than 213,936 linear miles of seismic surveys in the 1970s and 1980s, and at least five seismic

surveys have been authorized on the Atlantic OCS since 2014. Id. ¶ 9; Steen Decl., Ex. L at 25.

         The harms feared by the League have never materialized. Far from it. For example,

whale populations in the Pacific Ocean increased through a 20-year period of extensive seismic


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surveys off the West Coast, with the gray whale population increasing during that time at

unprecedented rates. Id. ¶¶ 63-64. Likewise, seismic surveys have been regularly conducted in

the Arctic Ocean for decades, with regular monitoring and reporting to NMFS under the auspices

of MMPA incidental take authorizations, and during this lengthy period of acoustic exposures,

the endangered bowhead whale population consistently increased in abundance to the point that

it is believed to have reached carrying capacity. Id. ¶ 65, Ex. B. In the last five years, seismic

surveys have regularly been conducted in the Atlantic Ocean off the coast of North Carolina,

New York, New Jersey, and Massachusetts using the same technology that would be used for the

surveys proposed by the Exploration Companies, all without any evidence of harm to marine

mammals.6 These surveys have all been subject to careful observation with no reports of marine

mammal injuries. See, e.g., Steen Decl., Ex. Q (USGS, Protected Species Mitigation and

Monitoring Report, 2018, with zero observed Level A harassment events and zero right whale

sightings). The League’s speculation that the present surveys will have different, never-before-

observed results is no basis for injunctive relief. Hodges, 253 F. Supp. 2d at 864 (“A fear of

speculative or remote future injury cannot constitute irreparable harm.”).

         Moreover, the potential effects of seismic surveys have been extensively observed and

studied, and are not a mystery. For example, a recent controlled study in Australia showed that

the typical behavioral response for a migrating humpback whale (on a 5,000 to 8,000 km



6
 See 83 Fed. Reg. 39,692 (Aug. 10, 2018) (IHA issued to United States Geological Survey for
seismic survey to be conducted in Northwest Atlantic Ocean); 83 Fed. Reg. 27,954 (June 15,
2018) (IHA issued to Scripps Institution of Oceanography for marine seismic survey in
Northwest Atlantic Ocean); 81 Fed. Reg. 2,174 (Jan. 15, 2016) (IHA issued to Lamont-Doherty
Earth Observatory for seismic survey in South Atlantic Ocean); 80 Fed. Reg. 27,635 (May 14,
2015) (IHA issued to Lamont-Doherty Earth Observatory for seismic survey in Northwest
Atlantic Ocean).



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journey) exposed to seismic sound was to deviate from its path by about 200 meters, followed by

immediate resumption of normal behavior. Id. ¶ 51. Similar results have been observed for gray

whales in California and Alaska. Id. ¶ 52. This kind of minor disruption is a daily part of life for

marine mammals, whether altering course to avoid natural hazards (e.g., predators) or

anthropogenic sources (e.g., vessels). Id. ¶ 51. Indeed, one of the League’s experts (Dr. Peter

Tyack) previously testified (when defending his own permit) that the scientific data predicts the

same response—“a deviation of migrating gray whales about 100 m around the sound source”—

and that it was “hard to conceive how such a minor change . . . could be considered to pose an

adverse impact.” Steen Decl., Ex. M ¶ 30. Similarly, the IHAs regularly issued by NMFS for

many years require comprehensive observation and reporting of effects, which has shown results

similar to those observed in these studies.

         The League must provide “proof”—not alarmist conjecture—that “the harm has

occurred in the past and is likely to occur again.” Wis. Gas Co., 758 F.2d at 674. The League has

failed to do so, and its motion should be denied.

         2.        The League’s Claims of Irreparable Injury Are Legally and Factually
                   Flawed.

                   a.       Incidental Harassment of Marine Mammals Does Not Irreparably
                            Injure the League or Its Members.

         Without evidence of past harm, the League tries to manufacture harm by pointing to the

“takes” authorized by the IHAs. The League urges that any harassment or possible injury to

marine mammals “constitutes irreparable harm,” and an injunction is warranted because

“NMFS’s own estimates” show that the surveying will “harass and injure marine mammals

hundreds of thousands of times.” SCCCL Br. at 30. But, this is precisely the “alarmist” rhetoric

the League’s own expert (Dr. Tyack) previously testified “stems from a misunderstanding of the

language of U.S. permits.” Steen Decl., Ex. M ¶ 30.

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         The surveys are not going to “harass and injure marine mammals hundreds of thousands

of times.” The surveys have the “potential to injure” only 69 marine mammals in total, all of

which are expected to be minor if they happen at all, and this estimate is calculated without

considering mitigation measures. 83 Fed. Reg. at 63,336-40; see Gisiner Decl. ¶ 70 (explaining

that the likelihood of actual hearing damage is remote, and at most would be a nearly

imperceptible impact on hearing thresholds). The remaining impacts are for the “potential” to

disturb marine mammals, not injure them. Level B harassment, by definition, does not have even

the “potential” to cause injury. 16 U.S.C. § 1362(18)(A). And while the Level B disturbance

numbers, when tallied together, number in the thousands, that is because many of the species are

highly abundant, and the numbers are based on the potential to disturb (not actual disturbances)

and estimated using a set of precautionary assumptions. Gisiner Decl. ¶¶ 68-72. Indeed, even

whale research activities can quickly add up to tens and even hundreds of thousands of instances

of Level B harassment. See Steen Decl., Ex. G at 78 (approved five-year research “takes” of

111,396 humpback whales, 66,040 fin whales, 51,590 right whales, and 46,705 sperm whales).

         The League cites Natural Resources Defense Council v. Evans, 279 F. Supp. 2d 1129

(N.D. Cal. 2003), for its claim that “certain harassment and possible injury of marine mammals”

warrants injunctive relief. SCCCL Br. at 29. But the League’s reliance on that case is misplaced

because the case was decided before the Supreme Court in Winter (also addressing alleged harm

to marine mammals) held that the injury must be “likely” and not merely “possible.” Winter, 555

U.S. at 22.7 Level A harassment has only the “potential” to injure a marine mammal, and is not

therefore “likely” injury. Level B harassment does not even have the “potential” to injure marine


7
 The other two cases cited by the League for this erroneous standard were both unpublished and
decided prior to Winter. See SCCCL Br. at 29-30.



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mammals. NMFS’s authorization of Level A and Level B harassment therefore provides no basis

for an injunction.

         Moreover, the relevant inquiry is not harm to the environment (or marine mammals), but

harm to the plaintiffs. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.

167, 181 (2000) (party must show “injury to the plaintiff” rather than “injury to the

environment”). Plaintiffs seeking the extraordinary relief of an injunction must show that they

themselves are likely to suffer irreparable harm absent an injunction. See Winter, 555 U.S. at 20

(plaintiff must establish “that he is likely to suffer irreparable harm” (emphasis added));

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156 (2010) (“‘[P]laintiff must demonstrate

. . . that it has suffered an irreparable injury.’” (emphasis added; citation omitted)).

         Accordingly, not all harm to the environment or even harm to endangered species

warrants injunctive relief. Water Keeper All. v. U.S. Dep’t of Def., 271 F.3d 21, 34 (1st Cir.

2001) (rejecting argument that “irreparable harm” automatically follows from the “death of even

a single member of an endangered species”). For example, in Idaho Rivers, the court rejected

arguments that the death of individual lamprey, and the “take” of ESA-listed salmon equated to

irreparable injury to the plaintiffs, finding instead that “courts require a showing that the

identified harm to the species is ‘significant vis-à-vis the overall population,’ and not just that

individual animals are likely to be injured.” 156 F. Supp. 3d at 1262 (quoting Pac. Coast Fed. of

Fishermen’s Ass’ns v. Gutierrez, 606 F. Supp. 2d 1195, 1210 (E.D. Cal. 2008)). Likewise, the

D.C. Circuit in Fund for Animals v. Frizzell, 530 F.2d 982, 986-87 (D.C. Cir. 1975), refused to

grant an injunction for an agency action that would result in the death of “10,000 snow geese, or

from 10 to 15 percent of the fall flight,” because such harm was not irreparable absent

“substantial possibility that the harvest of excessive numbers of these waterfowl will



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irretrievably damage the species.” In short, “[t]o equate the death of a small percentage of a

reasonably abundant game species with irreparable injury without any attempt to show that the

well-being of that species may be jeopardized is to ignore the plain meaning of the word.” Id.

Other courts agree.8

         The potential impacts of the proposed surveys fall well below those in Idaho Rivers

(actually killing lamprey and ESA-listed salmon) and Frizzell (killing 10,000 snow geese).

NMFS estimates that there will be no mortality or serious injury associated with the surveys.

The League can only speculate to the contrary. The minor and short-term disturbance of marine

mammals is, at most, exceedingly unlikely to cause irreparable injury to the League’s members’

recreational and research interests. Indeed, the five IHAs combined identify only five species that

even have the potential to experience minor injuries from a Level A harassment: the humpback

whale (10), the minke whale (12), the fin whale (12), Kogia whale species (15), and the harbor

porpoise (20). The League produces no evidence (and does not even argue) that these five

species will suffer irreparable injury or that these potential injuries (calculated without

considering mitigation) will result in harm “vis-à-vis the overall population” of any of the

species. Idaho Rivers, 156 F. Supp. 3d at 1262.

         Furthermore, the League has not shown, and cannot show, that any of the Level B

harassment authorized by the IHAs will result in species-level harm. With the exception of the

right whale and the beaked whale (addressed separately below), the League does not even argue


8
  Nw. Envtl. Def. Ctr. v. U.S. Army Corps of Eng’rs, 817 F. Supp. 2d 1290, 1315 (D. Or. 2011)
(ruling that irreparable harm “must be measured at the species level” in the context of an ESA
challenge) (citing NWF v. NMFS, 422 F.3d 782, 796 (9th Cir. 2005)); S. Utah Wilderness All. v.
Thompson, 811 F. Supp. 635, 642 (D. Utah 1993) (“[T]he coyote population [would] remain
viable. . . . This is not to say that the injuries [p]laintiffs assert are not real, but rather that this
court finds that the injury is not irreparable.”).



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that Level B harassment of marine mammals can result in irreparable harm at a species level.

The League has demonstrated no likelihood of serious injury or mortality to any marine mammal

and no likelihood of species-level harm, and thus has provided no basis for injunctive relief.

                   b.       The League Fails to Demonstrate That Irreparable Harm to the North
                            Atlantic Right Whale Is Likely.

         The five IHAs authorize zero Level A harassments and a combined total of 19 Level B

harassments of the North Atlantic right whale. The estimate of 19 Level B harassments is a

conservative estimate that includes all possible disruptions, and does not take into account the

benefits of certain mitigation measures. 83 Fed. Reg. at 63,336, 63,340. NMFS’s BiOp concludes

that any impact to the right whale will be minor and temporary, and that a few individual whales

“may briefly respond to underwater sound by slightly changing their behavior or relocating a

short distance.” Steen Decl., Ex. J at 86. NMFS also concluded that the surveys were not likely

to induce any severe physical or physiological response because those responses are “associated

with explosives and/or mid-frequency tactical sonar, not seismic airguns,” and that any stress

response would be “short-term.” Id. at 90. Moreover, NMFS included a large seasonal closure (at

the request of one of the plaintiffs) prohibiting surveys from occurring within 90 kilometers of

the coast from November through April, to protect the migratory corridor and nursing and

calving grounds. 83 Fed. Reg. at 63,353. As a result, NMFS concluded that the surveys will “not

affect the health of individual North Atlantic right whales” and will not “result in fitness

consequences” to those whales. Steen Decl., Ex. J at 99; 83 Fed. Reg. at 63,352 (mitigation “may

reasonably be expected to eliminate most potential for behavioral harassment of right whales.”).

         Resorting again to rhetoric, the League claims that these minor disturbances are an

“existential threat” to the right whale. SCCCL Br. at 30. This position is not credible given the

history of seismic and other geophysical surveys conducted without incident. See Gisiner Decl.


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¶¶ 63-66. For example, in 2017, NMFS issued an IHA for a survey (for siting a wind project) in

the Atlantic Ocean that authorized 105 Level B takes (more than five times the amount

authorized for all surveys here) of right whales in 221 days of activity. 82 Fed. Reg. 32,330,

32,337 (July 13, 2017).9 The League did not even comment on that IHA, let alone challenge it,

and its failure to do so undermines the outlandish claims it makes here. See Oakland Tribune,

Inc. v. Chronicle Publ’g Co., 762 F.2d 1374, 1377 (9th Cir. 1985) (a “long delay before seeking

a preliminary injunction implies a lack of urgency and irreparable harm”).

          The League relies on the opinions of experts (Dr. Kraus and Dr. Nowacek) who opine

that future injury to individuals and the entire species is now likely to occur from seismic

surveys. Despite the fact that NMFS addressed all of these concerns in response to public

comments,10 Dr. Kraus and Dr. Nowacek assert that the planned surveys will push the whale

closer to extinction. But such opinions are insufficient in the absence of evidence of any past

harm from seismic surveys and in the face of directly contrary opinions from NMFS—the

agency entrusted by Congress to ensure the protection of marine mammals. Nw. Envtl. Def. Ctr.

v. U.S. Army Corps of Eng’rs, 817 F. Supp. 2d 1290, 1315 (D. Or. 2011) (“Despite NEDC’s

conflicting views regarding the potential for irreparable harm from in-stream gravel mining

activities generally, the court must defer to ‘the reasonable opinions of [the agency’s] own

qualified experts even if, as an original matter, a court might find contrary views more

persuasive.’”) (quoting Lands Council v. McNair, 537 F.3d 981, 993 (9th Cir. 2008)).

          In any event, Dr. Kraus’ and Dr. Nowacek’s opinions are undermined by their own

9
 This is not the only example of authorized Level B right whale harassments from seismic
surveys in the Atlantic that have gone unchallenged by the League. See, e.g., 83 Fed. Reg.
19,532, 19,541 (May 3, 2018) (authorizing 18 Level B right whale harassments).
10
     See, e.g., 83 Fed. Reg. 63,276-78, 62,281-83.



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history of obtaining research permits that authorize hundreds (if not more) of Level A takes and

tens of thousands of Level B takes of right whales for more than a decade. For example, in 2016,

Dr. Kraus accepted NMFS’s conclusion that his request for a five-year permit for 50 Level A and

5,000 Level B takes per year would not appreciably reduce the likelihood of survival and

recovery of the right whale. Steen Decl., Ex. G at 103. In 2010, Dr. Nowacek accepted the same

expert conclusion by NMFS regarding his planned five-year annual take of 80 right whales by

Level A harassment and 90 right whales by Level B harassment. Id., Ex. I at 26. Having agreed

with NMFS that repeatedly subjecting the right whale to thousands of harassments for decades

from research surveys (approaching sometimes as close as five meters by vessel, and on at least

one occasion, actually striking a whale) and inflicting actual injuries with crossbows, they cannot

credibly second-guess NMFS’s reasoned conclusion that 19 Level B harassments will not

jeopardize the right whale.

         Nor should the Court be persuaded by Dr. Kraus’ claim that “[d]espite almost 50 years of

federal protections, the stock is now declining rapidly” and is “now in free-fall,” as evidenced by

recent morality events (caused by shipping and fish entanglements). Kraus Decl. ¶ 34. Dr. Kraus

neglects to mention that seven new calves have been spotted this year. See Gisiner Decl. ¶ 80.

Moreover, Dr. Kraus has been beating this same drum for decades. Twelve years ago, in his book

The Urban Whale, Dr. Kraus warned that “despite being under protection for 70 years,”

populations remain low and are “declining in size,” citing then-recent mortality events in which

“at least nine right whales were killed by ships, and four have been killed by fishing gear

entanglements.” See Kraus and Rolland (eds.), The Urban Whale, at 3-4 (2007). When Dr. Kraus

gave his warning in 2009, the population was “about 350 animals,” having grown from the point

in 1960 where the right whale was thought to be “extinct or very nearly so.” Id. at 3-5. Twelve



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years later, the population of North Atlantic right whales has grown to 411 animals, by Dr.

Kraus’ own estimate. Kraus Decl. ¶ 34. If there is a present decline at all, it is certainly not

“rapid” and the population is not in “free-fall,” and the recent mortality events are attributable to

increased vessel strikes and fishing entanglements, not seismic surveys. See Gisiner Decl. ¶ 81.

         Even setting aside these concerns, the opinions of Dr. Kraus and Dr. Nowacek are riddled

with errors, incorrect assumptions, and mischaracterizations. See Giniser Decl. §§ III, IV, V. As

just one example, Dr. Nowacek reaches the conclusion that right whales will suffer significant

stress from seismic activities based on six papers, only one of which actually involved a mammal

exposed to sound (a white lab rat subjected to noise from loudspeakers placed above its head).

See Gisiner Decl. ¶ 78. In contrast, actual controlled studies of whales responding to seismic

surveys show a minimal and short-term avoidance response. Id. ¶¶ 51-52.

         All told, the League fundamentally fails to provide any credible evidence of irreparable

harm to the right whale, and injunctive relief should therefore be denied.

                   c.       The League Fails to Demonstrate That Irreparable Harm to Beaked
                            Whales Is Likely.

         The League’s claims of irreparable harm to the beaked whale fail for essentially the same

reasons. The IHAs authorize zero Level A harassment for beaked whales and Level B

harassments ranging from 490 to 12,072 for each survey. 83 Fed. Reg. at 63,340. NMFS

appropriately concluded that this small amount of authorized Level B harassment did not have

the potential to injure beaked whales, but nonetheless included a suite of mitigation measures to

further ensure reduced impacts to beaked whales, including three year-round closures of

submarine canyon areas expected to provide important habitat for beaked whales, a seasonal

closure of an area off of Cape Hatteras, and expanded shutdown requirements for beaked whales.




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83 Fed. Reg. at 63,286. NMFS reasonably concluded that “the outcome is a negligible impact”

on the beaked whale. Id. at 63,281.

         Plaintiffs again rely on experts to contradict the agency’s determination, this time, Dr.

Andrew Read and Dr. Tyack, who are “concerned” about the number of authorized Level B

harassments and the potential for repeated displacement (Tyack ¶ 8), stating (incorrectly) that

“NMFS authorizes a total of 24,390 instances of harassment on a maximum population estimate

of 25,284 beaked whales” (id. ¶ 22).11 Again, these numbers must be viewed in context. The

present authorization for the Navy’s program in the Western North Atlantic is for more than

175,000 Level B harassments of beaked whales per year, which amounts to about 1,500% of the

beaked whale population every year (or an average of 15 Level B harassments per whale, per

year). See 83 Fed. Reg. 57,076, 57,243, Table 76 (Nov. 14, 2018). Yet despite these higher take

levels for the Navy, there is no indication that the beaked whale population in the Atlantic is

presently suffering irreparable injury as a result of these repeated Navy takes, and the League’s

beaked whale experts, Dr. Read and Dr. Tyack (who both do work for the Navy on these issues

(see Read Decl. ¶ 9; Tyack Decl. ¶ 28)), unsurprisingly do not suggest otherwise.

         Ultimately, the League’s claims of irreparable harm to the beaked whale are built on a

house of cards. The League’s experts point to studies showing that beaked whales respond to

sonar, which occurs at intense levels within the mid-range frequency where beaked whale

hearing is most acute. Gisiner Decl. ¶¶ 27-32, 55, 83-91 (discussing the significant differences


11
   Dr. Tyack’s asserted number of authorized takes is off by 1,066 beaked whales. Although Dr.
Tyack asserts that he has reviewed the Federal Register notice for the IHAs and the IHAs
themselves (Tyack Decl. ¶ 4), he appears to have overlooked footnote 8 to Table 15 (the table he
cites) at 83 Fed. Reg. at 63,376, which explains the revisions to Spectrum’s survey plan.
Spectrum’s actual authorized harassment is set forth in Spectrum’s IHA. See Steen Decl., Ex. D
at 18.



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between seismic and sonar). Plaintiffs concede that “there have been no behavioral studies of the

response of beaked whales to” seismic surveys, the sound of which occurs predominantly at low

frequencies. Read Decl. ¶ 31. Nonetheless, the League’s experts gloss over this disconnect and

lack of scientific support, claiming that the lack of evidence “does not mean that beaked whales

cannot detect or react adversely to such sounds.” Id. But this double negative (“does not mean”

they “cannot”) is not a substitute for actual evidence that the beaked whale will react negatively

to seismic surveys or a fact-based conclusion of what level of reaction is likely to occur. See

Gisiner Decl. § IV.C. It is the League’s burden to demonstrate that the irreparable injuries it

predicts are likely to occur absent an injunction. It is not enough that “the sounds from seismic

survey cannot be ruled out as posing a significant risk of serious injury or death to individual

beaked whales.” Tyack Decl. ¶ 10 (emphasis added). The League has not met that burden.

Winter, 555 U.S. at 22; Di Biase v. SPX Corp., 872 F.3d 224, 235 (4th Cir. 2017) (“[T]he

possibility of irreparable harm does not constitute a ‘clear showing’ that the plaintiff is entitled to

relief.” (emphasis added)).

         Without any scientific evidence of harm from seismic sound, the League’s expert, Dr.

Tyack, resorts to coincidence, pointing to two instances (one in Mexico and one in Spain) where

seismic surveys occurred at the same time (or possibly at the same time) that two beaked whales

were stranded some 45 to 50 kilometers away from where surveys occurred. Tyack Decl. ¶¶ 10,

16. But, as explained by Dr. Gisiner, those coincident examples do not demonstrate causality.

Gisiner Decl. ¶¶ 83-85. Here too, Dr. Tyack knows better than to insinuate a causal link between

these stranding events and seismic activity. Although Dr. Tyack places the 2002 Mexico

occurrence on his list of “mass stranded” events (Tyack Decl. ¶ 10) and insinuates a causal link

with a seismic survey, in 2007 he told a court, when testifying on behalf of the Navy, that the



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same 2002 event “does not represent an atypical stranding, or even a mass stranding by many

definitions.” Steen Decl., Ex. N ¶ 15. Dr. Tyack also previously testified that he agreed with

other experts that the 2002 stranding could not be definitively attributed to the 2002 survey

because of the “‘lack of knowledge regarding the temporal and spatial correlations between the

animals and the sound source,’” and he further opined that, even if the stranding was related, the

survey in question used both seismic and sonar, and there would be no way to tell which sound

source was to blame. Id. ¶¶ 15-16. Dr. Tyack’s contradictory testimony here is not credible.

         Tellingly, Dr. Tyack’s present testimony, built on the spurious hypothesis that seismic

will have the same effect as sonar, stops well short of claiming that irreparable injury is likely.

He “suggests” that seismic will have the same effects as sonar (Tyack Decl. ¶ 26), states that

population displacement “could interfere with beaked whales’ ability to meet energetic

requirements for survival” (¶ 29 (emphasis added)), that these “impacts could be compounded”

(¶ 30 (emphasis added)) or “could compound” by multiple exposures (¶ 32 (emphasis added)).

But the fact that something could happen does not mean that is likely to occur, and thus Dr.

Tyack simply opines that harm is theoretically “possible,” or “cannot be ruled out,” which is

legally deficient under Winter, 555 U.S. at 22. See also Hodges, 253 F. Supp. 2d at 864 (“A fear

of speculative or remote future injury cannot constitute irreparable harm. There must be a

likelihood that immediate irreparable harm will occur.”) (citing Manning, 119 F.3d at 263).12

         Furthermore, the opinions of the League’s experts are based on inaccurate concerns about

the extent of the surveys. For example, Dr. Tyack focusses specifically on WesternGeco’s



12
 Nor is this the end of the flaws in the expert testimony of Dr. Read and Dr. Tyack. See Gisiner
Decl. § VI.B (detailing numerous mischaracterizations and mistaken assumptions).




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proposed survey, which will last 208 days (Tyack Decl. ¶ 30), and both experts rely on the

expectation that there will be five “overlapping” surveys. Id.; Read ¶ 40 (“all five surveys will

overlap in space and occur within the same general time period”). This is an exceedingly

unlikely scenario. WesternGeco has not completed its Coastal Zone Management Act process

and, accordingly, whether and when it might conduct a survey is entirely unknown. See

Declaration of Gary Stuart Poole. Additionally, at least three of the Exploration Companies are

coordinating their efforts such that only one survey will occur at any given time. See

Declarations of Peter Seidel, Michael Whitehead, and Richmond Miller. Accordingly, at most,

only two surveys may be operating at any given time within the enormous expanse of the U.S.

Atlantic OCS, further undermining the basis of Dr. Tyack’s and Dr. Read’s opinions.

         Finally, even if the League could demonstrate that some significant irreparable injury to

the beaked whale is likely (and it cannot), the League still fails to demonstrate that irreparable

harm to its members is likely. The League identifies a “research” interest and the “opportunity to

study beaked whales,” claiming that “if whales abandon that area, even temporarily, it will

interfere with” their work. SCCCL Br. at 33-34. But neither the League nor its members explain

how (temporary) injury to research efforts is irreparable injury, or why they could not conduct

their research in areas off Cape Hatteras where seismic surveys were not occurring at a given

time. Courts have rejected similar efforts to manufacture irreparable injury based on research

interests. CBD v. Hays, No. 2:15-cv-01627-TLN, 2015 WL 5916739, at *10 (E.D. Cal. Oct. 8,

2015) (The “declaration fails to describe a substantial and immediate irreparable injury because

[the declarant] fails to show that his research cannot be conducted in areas where logging will

not be implemented.”); In Def. of Animals v. U.S. Dep’t of Interior, 737 F. Supp. 2d 1125, 1138

(E.D. Cal. 2010) (rejecting claim of irreparable injury based on plaintiffs’ claim “that



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their ability to study free-roaming animals in their natural habitat, and within their particular

family bands, will be impacted”). In summary, the League has failed to meet its heavy burden of

demonstrating irreparable harm, and its motion should be denied for this reason alone.

D.       The League’s Motion Should Also Be Denied Because the League Is Unlikely to
         Succeed on the Merits.

         To succeed on the merits of its claims, the League must show that NMFS “relied on

factors which Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983). The League is unlikely to prevail in demonstrating such errors

because its arguments amount to nothing more than disagreement with NMFS’s expert

conclusions and ignorance of the plain content of the agency’s record.

         1.        The League Is Unlikely to Prevail on Its MMPA Claims.

         The MMPA authorizes IHAs for “the incidental, but not intentional, taking by harassment

of small numbers of marine mammals of a species or population stock,” so long as the

harassment “will have a negligible impact on such species or stock.” 16 U.S.C. §

1371(a)(5)(D)(i) (emphases added). The League challenges both the “small numbers” and

“negligible impact” determinations for the IHAs. Both challenges are unlikely to succeed.

         Small Numbers. The League has challenged five separate IHAs, but fails to address

whether each authorization supposedly violates the “small numbers” requirement. So, for

example, ION’s IHA authorizes no more than 2 percent harassment for any species. 83 Fed. Reg.

at 63,376. The League does not argue that this authorized take is not a “small number” and

therefore cannot be likely to succeed on a claim it has not made.


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         As to the other four IHAs, the League’s “small number” arguments are equally

misguided. The legislative history makes clear that Congress delegated broad discretion to

NMFS’s expertise, explaining that the “Committee recognizes the imprecision of the term ‘small

numbers’, but was unable to offer a more precise formulation because the concept is not capable

of being expressed in absolute numerical limits.” H.R. Rep. No. 97-228 at 19 (1981), reprinted

in 1981 U.S.C.C.A.N. 1458, 1469 (emphases added). The Ninth Circuit confirmed that

discretion, explaining that (i) an agency “need not quantify the number of marine mammals that

would be taken under the regulations, so long as the agency reasonably determines through some

other means that the specified activity will result in take of only ‘small numbers’ of marine

mammals” and (ii) the term means “small relative to the size of the mammals’ larger

population.” CBD v. Salazar, 695 F.3d 893, 905-07 (9th Cir. 2012) (emphasis in original).

         NMFS properly applied that broad discretion here. NMFS concluded that, given the

nature of the seismic activity and its potential for minor but unavoidable or accidental impacts,

that harassment of up to one-third of the species constituted “small numbers.” 83 Fed. Reg. at

63,301. NMFS articulated that rationale in the record, grounded that rationale in the statutory

language and legislative history, and expressly addressed and rejected in the record all the

arguments now put forth here by the League. The League does not identify information that was

overlooked or ignored, or argue that the “small numbers” finding “is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs.

Ass’n, 463 U.S. at 43. The League is therefore unlikely to prevail on this claim.

         Furthermore, the League’s arguments are undermined by NMFS’s past practice with

respect to “small numbers.” There is nothing new or novel about NMFS’s “small numbers”

findings here. NMFS has repeatedly concluded that proportions similar to those present here, or



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much higher, constitute “small numbers.” See, e.g., 82 Fed. Reg. 32,330, 32,343 (July 13, 2017)

(24% of the North Atlantic right whale population is a “small number”); 82 Fed. Reg. 17,209,

17,223 (Apr. 10, 2017) (52% of West Coast transient killer whales and 48% of Northern resident

killer whales); 81 Fed. Reg. 66,628, 66,637 (Sept. 28, 2016) (64% of bottlenose dolphin stock);

81 Fed. Reg. 40,852, 40,867 (June 23, 2016) (27% of West Coast transient killer whale

population and 25% of Northern resident killer whale population); 79 Fed. Reg. at 57,538 (27%

of sei whale population and 25% of pantropical spotted dolphin population); 79 Fed. Reg.

65,378, 65,384 (Nov. 4, 2014) (81% of bottlenose dolphin stock). Additionally, numerous

MMPA incidental take authorizations forego the quantified estimate entirely and perform a

purely qualitative “small numbers” analysis. See, e.g., 71 Fed. Reg. 43,925 (Aug. 2, 2006); 73

Fed. Reg. 33,212 (June 11, 2008). NMFS’s application of “small numbers” here is hardly

unreasonable in light of this past practice.13

         Without any support from the plain language of the statute, the legislative history, or

agency practice, the League resorts to the dictionary for a definition of “small” as “close to

zero.” SCCCL Br. at 11. However, “small,” for MMPA purposes, means small “relative to the

size of the mammals’ larger population.” Salazar, 695 F.3d at 905-07. “[C]lose to zero” is

plainly not a relative figure, and that definition is inapt. Moreover, other common definitions of

“small” better support NMFS’s application, such as: “comparatively small in size” (Webster’s),

“less in size or amount than is average” (Cambridge), “something smaller than the rest”

(American Heritage), “not large in size, amount, or number” (MacMillan), and “not great in


13
  The League relies heavily on Evans, 279 F. Supp. 2d 1129. However, that decision addressed
highly impactful Navy sonar (not seismic surveys), involved NMFS’s reliance on a regulatory
definition found to be unlawful, and predated both Salazar and multiple non-sonar IHAs in
which NMFS authorized higher proportions of incidental take.



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amount, number, strength, or power” (Oxford).14 The expansive range of definitions of the word

“small” only emphasizes the ambiguity of the term “small numbers,” which Congress entrusted

NMFS to apply.15

         Negligible Impact. The League’s “negligible impact” argument is also unlikely to

succeed. Tellingly, the League offers no argument that any one of the five negligible impact

determinations is erroneous. Nor does it argue that the five IHAs combined lead to a non-

negligible impact. Instead, the League argues a procedural error—i.e., that NMFS was supposed

to add up all the negligible impacts together in a single document to see whether five negligible

findings = one non-negligible finding. The fundamental flaw with this argument is that there is

no statutory requirement under the MMPA to do this.

         The MMPA states that the “negligible impact” finding is for “such harassment” resulting

from “that activity”—i.e., the “specified activity”—for which authorization is requested. See 16

U.S.C. § 1371(a)(5)(D)(i). NMFS’s implementing regulations similarly require separate

applications for each “specified activity” for which an IHA is sought and provide that “negligible


14
   Webster’s Third New International Dictionary 2149 (2002); Cambridge Dictionary,
https://dictionary.cambridge.org/us/dictionary/english/small (last visited Mar. 11, 2019);
American Heritage Dictionary 1701 (3d ed. 1992); MacMillan Dictionary,
https://www.macmillandictionary.com/us/dictionary/american/small_1 (last visited Mar. 11,
2019); Oxford Dictionary, https://en.oxforddictionaries.com/definition/small (last visited Mar.
11, 2019); see also 83 Fed. Reg. at 63,301.
15
  Without any basis to contradict the agency’s reasoned conclusion, the League selectively
resorts to analogies and alarmist scenarios in an effort to undermine NMFS’s finding. But the
League’s analogies are only as good as its definition of “small numbers,” which NMFS explains
are “cherry pick[ed]” from the definitions of “small” that suit its argument. 83 Fed. Reg. at
63,301. Other analogies support the opposite conclusion. For example, a reasonable person could
conclude that a “small number” of voters turned out if only one-third of eligible voters cast
ballots in an election. Likewise, the League’s alarmist scenario that NMFS could or would
authorize the “killing” of one-third of a species has never happened (despite harassment
authorizations of more than one-third) and is little more than hyperbole.



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impact” is “an impact resulting from the specified activity….” 50 C.F.R. § 216.103; see

generally 50 C.F.R. §§ 216.101-216.108. As NMFS explained in the record, “[w]e believe the

‘specified activity’ for which incidental take coverage is being sought … is appropriately defined

and described by the IHA applicant,” and “[h]ere there are five specified activities, with a

separate applicant for each,” so, accordingly, “NMFS must make the necessary findings for each

specified activity.” 83 Fed. Reg. at 63,284. NMFS followed the statute and its own regulations,

and the League is unlikely to succeed in proving otherwise.16

         NMFS, of course, was required to (and did) evaluate the cumulative impacts of all the

authorized harassments pursuant to NEPA, finding no significant impact. Steen Decl., Ex. K at 7

(“The proposed action considered herein is the issuance of the five IHAs, and the aggregate

effects of such issuance on marine mammals”). Plaintiffs do not now challenge that NEPA

finding, revealing that their negligible impacts claims are just make-weight. Having considered

all relevant direct, indirect, and cumulative effects associated with all five IHAs, NMFS properly

made its “negligible impact” determination for each IHA, as required by the MMPA and

NMFS’s implementing regulations. Nothing more was required and the League is therefore

unlikely to succeed on the merits of this claim.




16
   The League mixes and matches the distinct requirements applicable to five-year incidental
take regulations and one-year IHAs, respectively, by misleadingly citing to the preamble for a
1989 rulemaking applicable to five-year regulations (before the IHA provisions were even added
to the MMPA). SCCCL Br. at 15. The MMPA permits NMFS to issue regulations applicable to
many activities over a five-year period. See 16 U.S.C. § 1371(a)(5)(A)(i). For such regulations,
the numerous activities covered by the regulations are collectively considered a “specified
activity” for which NMFS must determine that the “total … taking” has a “negligible impact.”
Id. § 1371(a)(5)(A)(i)(I); CBD v. Kempthorne, 588 F.3d 701, 709-10 (9th Cir. 2009) (all
activities under five-year regulation constitute a “specified activity”).




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         2.        The League Is Unlikely to Prevail on Its ESA Claims.

         First, the League claims that NMFS violated the ESA by failing to use the best available

science when it applied an “outdated” 160 dB acoustic threshold to model the number of Level B

harassments of ESA-listed whales. SCCCL Br. at 17-19. The League argues instead that NMFS

should have used criteria discussed in a proposed rule for the Gulf of Mexico. This claim is

unlikely to prevail under the APA’s deferential standard because a court will “reject an agency’s

choice of a scientific model only when the model bears no rational relationship to the

characteristics of the data to which it is applied.” San Luis & Delta-Mendota Water Auth. v.

Locke, 776 F.3d 971, 994 (9th Cir. 2014) (internal quotation marks and citation omitted). The

League does not even argue that this standard is met. Instead, the League argues that modeling

using the 160 dB criterion is not based on the “best available science.” SCCCL Br. at 18-19. That

argument is equally doomed to failure as “[a]n agency complies with the best available science

standard so long as it does not ignore available studies, even if it disagrees with or discredits

them.” San Luis & Delta-Mendota, 776 F.3d at 995.

         Here, NMFS did not ignore the proposed Gulf of Mexico rule. Rather, NMFS

acknowledged that it had “recently published proposed incidental take regulations for

geophysical surveys in the Gulf of Mexico” and, after careful consideration and explanation,

NMFS concluded “the current [160 dB] threshold allows for an appropriate, and often

conservative, enumeration of predicted takes by Level B harassment, which support robust

negligible impact and small numbers analyses.” 83 Fed. Reg. at 63,286. NMFS also considered

all scientific models upon which the criteria preferred by the League are based and ignored

nothing. Id. at 63,284-86. NMFS’s conclusion as to “what constitutes the best scientific and

commercial data available is itself a scientific determination deserving of deference” and the



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League is unlikely to prevail on this claim. San Luis & Delta-Mendota, 776 F.3d at 995 (citation

omitted).17

         Second, the League argues that NMFS violated the ESA’s “best available science”

requirement by failing to consider (i) the “risk” of “overlapping” surveying and (ii) the effects of

“other present and future noise-generating activities.” SCCCL Br. at 20-21. These arguments are

not likely to succeed either because they are factually wrong. NMFS did consider these factors in

the BiOp. As the BiOp explains, NMFS considered all five “IHAs together given the similarity

and timing of the actions,” and rationally concluded that there would be no “synergistic impacts

between and among the permits and IHAs given the time and location across a broad geographic

area in the mid- and South Atlantic.” Steen Decl., Ex. J at 17-18. NMFS considered the action

under consultation “to encompass the issuance of all five permits and IHAs, and thus,

evaluate[d] their combined effects as a whole.” Id. at 8-9 (emphasis added); see id., Ex. A at 71.

         NMFS also considered other present and future noise-generating activities in Section 8 of

the BiOp (the environmental baseline), which includes “the past and present impacts of all

Federal, state, or private actions and other human activities in the action area.” Id., Ex. J at 22.

NMFS comprehensively evaluated that baseline, including assessment of the effects of Navy

sonar that the League incorrectly claims NMFS ignored, along with the past and present effects

of climate change, ocean temperature regimes, disease, invasive species, pollution, marine



17
  The League’s argument that the agency “abandoned” or “rejected” modeling based on the 160
dB threshold is not accurate. A proposed rule, obviously, has no binding effect (Sweet v.
Sheahan, 235 F.3d 80, 88 (2d Cir. 2000)), and, since that proposal, the agency has continued to
use modeling based on 160 dB. See 84 Fed. Reg. 7,023 (Mar. 1, 2019) (IHA issued by NMFS
using 160 dB acoustic threshold for Level B harassment associated with impact pile driving); 83
Fed. Reg. 39,692 (Aug. 10, 2018) (IHA issued by NMFS using 160 dB acoustic threshold for
Level B harassment associated with seismic survey conducted by USGS).



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debris, pesticides and contaminants, oil spills, fisheries, bycatch, aquaculture, whaling, sea turtle

harvest, scientific research, vessel strikes, sound, seismic surveys, and military exercise. Id., Ex.

J at 22-24. Next, NMFS added the effects of the action to those baseline effects and any

cumulative effects. Id., Ex. J at 44-108. Then, NMFS correctly performed an analysis of the

Section 7 jeopardy standard based upon all these added effects. See id., Ex. J at 107-12 (“In this

section, we add the Effects of the Action (Section 9) to the Environmental Baseline (Section 8)

and the Cumulative Effects (Section 10) to formulate the agency’s opinion as to whether the

proposed action is likely to” reach the jeopardy threshold). NMFS plainly did not “conduct its

jeopardy analysis in a vacuum,” as the League contends, and this claim is unlikely to prevail.

         Third, the League objects to a condition in the IHAs that allows a permittee to develop

and submit for review and approval an alternative mitigation and monitoring plan that would

allow reducing the seasonal closure for the North Atlantic right whale to 47 km offshore if the

plan achieves “comparable protection.” SCCCL Br. at 23-25. But this claim is not ripe. No party

has submitted an alternative mitigation plan, and even if one is later submitted, NMFS may not

ever approve it. Moreover, the BiOp explains that if such an application is received by NMFS’s

Permits and Conservation Division (the division that approves IHAs), that division would need

to “engage” the Endangered Species Act Interagency Cooperation Division “for evaluation of the

plan to ensure it is within the scope of the analyses in [the BiOp].” Steen Decl. Ex. J at 20-21.

What may or may not result from an internal re-engagement of the consultation division, if one

ever is needed, is presently unknown. See Texas v. United States, 523 U.S. at 300 (“A claim is

not ripe for adjudication if it rests upon contingent future events that may not occur as

anticipated, or indeed may not occur at all.” (citation and internal quotation marks omitted)).

Moreover, even if the condition were entirely improper (it is not), that is, at most, grounds for



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invalidating the condition, not the entire BiOp or the IHAs. Zepeda v. INS, 753 F.2d 719, 729 n.1

(9th Cir. 1983) (“injunctive relief should be narrowly tailored to remedy the specific harms

shown by plaintiffs, ‘rather than to “enjoin all possible breaches of the law”’” (citation omitted)).

         3.        The League Is Unlikely to Prevail on Its NEPA Claims.

         The League is also unlikely to prevail on its argument that NMFS was required to

produce an EIS under NEPA because, in 2014, BOEM already produced a comprehensive PEIS

that evaluated the impacts of all potential seismic surveys (and other surveys) that were

reasonably foreseeable in the Atlantic through 2020. Steen Decl., Ex L. NMFS was a

“cooperating agency for the development of that Programmatic EIS,” and the EIS was intended

to “serve” NMFS “as an assessment of potential impacts to marine resources.” Id., Ex. L at 17,

22. The PEIS evaluated a much broader range of potential surveys than authorized here, and

explains, “[t]he impacts of future site-specific actions will be addressed in subsequent NEPA

evaluations, per CEQ regulations (40 CFR §1502.20), by tiering from this programmatic

evaluation.” Id., Ex. L at 18. That is precisely what happened here. NMFS issued a Record of

Decision adopting the PEIS on February 23, 2018 (id., Ex. O (Record of Decision)), and

proceeded to develop and adopt, in November 2018, an EA that “tiered” to the PEIS,

“incorporate[d] the relevant portions” of the PEIS, and considered new information since

completion of the EIS (id., Ex. A at 7; 83 Fed. Reg. at 63,315).

         Even ignoring the existence of the EIS, the League’s arguments that another EIS is

required in order to address factors such as “unknown risks” is unpersuasive given the 80-year

history of seismic surveys and the absence of any documented associated harm.18 The League



18
  Many courts have affirmed the use of an EA for MMPA incidental take authorizations. See
Native Vill. of Point Hope v. Minerals Mgmt. Serv., 564 F. Supp. 2d 1077, 1083-84 (D. Alaska
                                                                                (continued . . .)

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also identifies four significance factors from 40 C.F.R. § 1508.27, but NMFS’s Finding of No

Significant Impact explains why each of those factors does not warrant an EIS, and the League

does not address those findings or argue that they are arbitrary and capricious. Steen Decl., Ex. K

at 4-9. The League is therefore unlikely to prevail on its NEPA claim.

E.       The Balance of the Equities and Public Interest Weigh Against an Injunction.

         In the OCSLA, Congress expressly directs BOEM to ensure the “expeditious and orderly

development” of the OCS. 43 U.S.C. § 1332(3). Applying the traditional balancing of equities

test, the U.S. Supreme Court has held that the balance of hardships does not favor an injunction

where environmental injury is not a probable result of oil and gas leasing and exploration, and

yet delay will both contravene the purposes of the OCSLA and cause the loss of millions of

dollars. Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 545 (1987). For the reasons stated

above, that is the case here. The five surveys authorized here “present no risk of irreparable harm

to any marine species” (Gisiner Decl. ¶ 12) and will delay the gathering of information that is

essential to the long-term energy needs of the United States.

                                        IV. CONCLUSION

         For the foregoing reasons, the League’s motion should be denied in whole. Alternatively,

if the Court is inclined to grant any of the relief requested, basic principles of equity require the

court to tailor the injunction to be “no more burdensome to the defendant than necessary.”

Califano v. Yamasaki, 442 U.S. 682, 702 (1979). The League has made no effort to tailor its

request, and, therefore, Intervenor-Defendants respectfully request briefing on the scope of a

remedy if the Court is inclined to grant any relief on this motion.

(. . . continued)
2008); Kempthorne, 588 F.3d at 711-12; Alaska Wilderness League v. Jewell, 116 F. Supp. 3d
958, 970-71 (D. Alaska 2015).



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DATED: March 13, 2019                 Respectfully submitted,


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